Case 1:17-cV-21603-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 1 of 31

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Case Number: l7-21603-CIV-MORENO

ADRIA MM PRODUCTIONS, LTD.,

Plaintiff,

VS.

WORLDWIDE ENTERTAINMENT GROUP, INC.,

 

Defendant.
/
WORLDWIDE ENTERTAINMENT GROUP, INC.,
Counterclaimant,
v.
ADRIA MM PRODUCTIONS, LTD.,
Counter-defendant. /

 

ORDER DENYING THE PARTIES’ MOTIONS FOR SUMMARY JUDGMENT

Plaintiff/Counterclaim Defendant Adria MM Productions, Ltd., a Croatian company, and
Defendant/Counterclaim Plaintiff Worldwide Entertainment Group, Inc., a Miami-based
company, entered into a five-year Promotional Agreement for the production of “Ultra Europe”
musical festivals in Croatia. Pursuant to the Agreement, Worldwide Entertainment granted Adria
Productions the right to use certain “Ultra” trademarks in Croatia and Europe to promote an
“Ultra” event, in exchange for licensing and promotional fees. After Worldwide Entertainment
revoked the Agreement for alleged material breaches, Adria Productions filed suit, claiming that
the Agreement Was void. In response, Worldwide Entertainment filed a countersuit, claiming
that, among other things, Adria Productions breached the contract entitling Worldwide

Entertainment to damages Both parties moved for summary judgment Adria Productions moved

Case 1:17-cV-21603-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 2 of 31

for partial summary judgment on its claim for declaratory judgment and Worldwide
Entertainment’s corresponding claims for breach of contract Worldwide Entertainment moved
for summary judgment on all of Adria Productions’s claims and all of its counterclaims

THE COURT has considered the motions, the responses, the replies, the pertinent
portions of the record, and being otherwise fully advised in the premises, it is adjudged that for
the reasons stated below, the motions for summary judgment are DENIED.

I. BACKGROUND

Defendant Worldwide Entertainment is a Florida corporation that promotes and organizes
musical events, including Ultra Musical Festival, an outdoor electronic musical festival that takes
place annually in Miami, Florida. Ultra was founded in 1999 and since then has continued to
expand globally. Worldwide Entertainment is an official licensee and sub-licensor of certain
trademarks bearing the “Ultra” name and logo, as well as other intellectual property. To grow the
“Ultra” brand, Worldwide Entertainment has entered into various licensing agreements for the
use of “Ultra” proprietary marks in numerous countries Worldwide Entertainment entered into
one such agreement with Adria MM Productions, Ltd.

Plaintiff Adria Productions is a Croatian company that promotes musical events in
Croatia. On November 2, 2012, Adria Productions and Worldwide Entertainment entered into a
five-year Promotional Agreement, as amended on December 5, 2013, whereby Worldwide
Entertainment granted Adria Productions the right to use certain “Ultra” trademarks in Croatia
and Europe to promote an “Ultra” event in Croatia, in exchange for licensing and promotional
fees. More specifically, the Agreement states:

Ultra hereby grants to AMM, during the Term of this Agreement,
the non-exclusive and limited right to use, in the Territory, those

certain Proprietary Marks, namely “Ultra Europe,” Ultra Europe:
Croatia ~ Split/Hvar Edition,” “Road to Ultra,” Ultra’s

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 3 of 31

distinctive “U” device logo or any other mark deemed appropriate
by Ultra for time to time.

The Territory, as defined in the Agreement, is (l) exclusively Croatia, and (2) non-exclusively
Europe.

Adria Productions hosted and promoted its first Festival in Croatia in 2013. Adria
Productions continued to do so in 2014, 2015, and 2016. The Agreement was set to expire in
November 2017. Before the expiration of the original Agreement, Worldwide Entertainment
proposed a new five-year exclusive license agreement, Before the parties could enter into a new
agreement, on March 3, 2017, Worldwide Entertainment sent Adria Productions a Notice of
Continuing Default (“the Notice”), listing Adria Productions’s various breaches and demanding
that it cure. The breaches alleged included (l) “failure to timely remit the Promotional Fee. . .for
the 2017 event,” (2) “failure to remit travel deposits,” (3) “unauthorized holding of`, and
participation in, press conferences . .and the unauthorized use of certain of Ultra’s Proprietary
Marks in conjunction therewith,” (4) failure to assign or otherwise relinquish all “Ultra” related
intellectual property rights, unauthorized publication of non-public information, and (5) other
violations that caused “financial and reputational injury.”

As per the Agreement, Adria Productions had “5 calendar days to cure” the breach. If
Adria Productions failed to cure, Worldwide Entertainment then had “the right, without further
notice or demand, to avail itself of any and all legal and equitable remedies, including (a) to
immediately terminate this Agreement and/or (b) to retain any and all monies remitted to
[Worldwide Entertainment] or any of its subsidiaries or affiliates for any reason, including but
not limited to Promotional Fees as liquidated damages (and not as a penalty).” Adria Productions
did not respond to the default. On March 8, 2017, following the expiration of the cure period,

Worldwide Entertainment dispatched a Revocation of Grant of Rights to Adria Productions,

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 4 of 31

revoking all the rights granted to and/or conferred upon Adria Productions by Worldwide
Entertainment, pursuant to Section 2 of the Agreement, Shortly thereafter, Adria Productions
discovered that Worldwide Entertainment had never formally registered the proprietary marks
licensed in the Agreement in Croatia or Europe, and brought suit against Worldwide
Entertainment Worldwide Entertainment countersued Adria Productions for its breach of the
Agreement,

Five days after Adria Productions filed this lawsuit, both parties applied for registration
of the subject marks within 34 minutes of each other_ Adria Productions applied in Croatia,
Worldwide Entertainment applied in the European Union. Worldwide Entertainment applied for
the mark “Ultra Europe” and other marks with the European Union Intellectual Property Office
at 1:26 PM. Adria Productions applied for “Ultra Europe” and other marks with the State
Intellectual Property Office in Croatia at 2200 PM. Both parties opposed each other’s filings To
date, there has been no adjudication on the outcome of the either party’s opposition.

The parties disagree as to the validity of the Agreement, and both parties have filed
motions for summary judgment. Adria Productions is seeking partial summary judgment as to
Adria Productions’s Count VIII (declaratory judgment) and as to Worldwide Entertainment’s
Counts I (breach of contract, damages), II (breach of contract, injunction), and IV (unjust
enrichment); altematively, Adria Productions is asking this Court for a declaration of certain
material facts Worldwide Entertainment is seeking summary judgment in its favor on all of
Adria Productions’s claims and all of Worldwide Entertainment’s counterclaims As explained
below, the parties’ motions for summary judgment are DENIED as the Court cannot reach the

legal conclusions at the summary judgment stage based on the facts as presented.

II. LEGAL STANDARD

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 5 of 31

Summary judgment is authorized where there is no genuine issue of material fact. Fed.
R. Civ. P. 56(c). The party seeking summary judgment bears the initial burden of demonstrating
the absence of a genuine issue of material fact. Adl`ckes v. S.H. Kress & Co., 398 U.S. 144, 157
(1970). The party opposing the motion for summary judgment may not simply rest upon mere
allegations or denials of the pleadings; the non-moving party must establish the essential
elements of its case on which it will bear the burden of proof at trial. Celotex Corp. v. Catrett,
477 U.S. 317 (1986); Malsushita Elec. Indus. Co. v. Zenith Radl'o Corp., 475 U.S. 574 (1986).
The non-movant must present more than a scintilla of evidence in support of the non-movant's
position. A jury must be reasonably able to find for the non-movant. Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 254 (1986).

III. ADRIA PRODUCTION’S MOTION FOR PARTIAL SUMMARY JUDGMENT

Adria Productions seeks summary judgment on its claim for declaratory relief (Count
VIII), arguing that the Agreement is void for lack of consideration. Because Adria Productions
believes that the Agreement is void, Adria Productions accordingly also seeks summary
judgment on Worldwide Entertainment’s breach of contract (Counts 1 and II) and unjust
enrichment (Count IV) claims, which are reliant on the validity of the contract. Alternatively,
Adria Productions requests that the Court declare that Worldwide Entertainment (1) had no
rights to the purportedly licensed marks at any relevant time; and (2) nevertheless held itself out
to be the owner of the purportedly licensed marks

For the reasons stated below, the Plaintiff’s Motion for Partial Summary Judgment is
DENIED.

A. Validitv of the Promotional Agreement

As a threshold matter, this Court must decide whether the Promotional Agreement is

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 6 of 31

valid or void. Before deciding the validity of the Agreement, however, the Court must determine
the applicable law. lt is undisputed that the language of the Agreement states that it is subject to
Florida law. See Promotional Agreement, at 21-22 (“This Agreement shall be construed and
governed under the laws of the United States, specifically, the State of Florida, notwithstanding
conflicts of law principles or the doctrine of forum non-conveniens.”). However, Adria
Productions argues that, for purposes of this particular dispute, Croatian and European laws
apply under the “territoriality doctrine,” which recognizes a trademark “as having a separate
existence in each sovereign territory in which it is registered or legally recognized as a mark.”
Paleterz'a La Mz'choacana, Inc. v. Productos Lacteos Tocumbo S.A. De C. V., No. 17-7075, 2018
WL 3894587, at *8 (D.C. Cir. Aug. 10, 2018) (citing J. McCarthy, MCCARTHY ON
TRADEMARKS & UNFAIR COMPETITION § 29:1 (5th ed. 2018)). Worldwide Entertainment
disagrees arguing that the Agreement and its choice of law provision control. Both parties are
correct.

Worldwide Entertainment is correct that Florida law governs the Agreement But Florida,
as part of the United States, is subject to the “territoriality doctrine.” Each law will thus be
applied where appropriate to the Court’s analysis_i.e., to the extent that construction of the
Agreement is being disputed, Florida law will apply; but to the extent that the ownership of the
Marks is being disputed, the “territoriality doctrine” will apply.

1. Consideration

Under Florida law, “a contract is made when three elements are present: offer,
acceptance, and consideration.” Britt Green Truckz`ng, Inc. v. FedEx Nat’l LTL, Inc., 511 Fed.
Appx. 848, 851 (1 lth Cir. 2013). “A promise, no matter how slight, qualifies as consideration if
the promisor agrees to do something that he or she is not already obligated to do.” Id. By

entering into the Agreement, Adria Productions agreed to pay Worldwide Entertainment a

_6_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 7 of 31

promotional fee in exchange for the license to use Worldwide Entertainment’s proprietary marks
to produce and promote an Ultra Europe in Croatia. Worldwide Entertainment had not formally
registered the Marks in Croatia or with the European Union at the time the parties entered into
the Agreement_which Worldwide Entertainment does not dispute. Because Worldwide
Entertainment lacked formal registration abroad, Adria Productions argues that Worldwide
Entertainment was not capable of licensing or assigning the Marks to Adria Productions under
the Agreement, Because the “Grant of Rights” in the Marks was the consideration that
Worldwide Entertainment was required to provide under the terms of the Agreement, Adria
Productions now contends it is void for lack thereof. The Court concludes that it cannot make
these findings at the summary judgment stage.
2. Croatia

Unlike the United States, which is a first-to-use country (i.e., trademark priority is
afforded to the first to use a mark in commerce), Croatia is a first-to-file country. § 38:5.Who
may apply, 1 Trademarks Throughout the World § 38:5. According to Article 4 of the Croatia
Trademarks Act as Amended, trademark priority is afforded to the first person or entity to file for
registration of the trademark in the Republic of Croatia. Id. Because Worldwide Entertainment
had not formally registered the trademarks in Croatia, Adria Productions argues that Worldwide
Entertainment could not license them for use there. But this argument falls short. With respect to
consideration, Worldwide Entertainment argues mainly that it has conferred benefits upon Adria
Productions separate and apart from use of the actual Marks, including “support and know-how
in the planning and execution of numerous events, use of the “Ultra” domain names, Twitter
handles, Instagram pages, Facebook pages, and marketing of the events around the world, access
to talent, talent booking, and the use of Worldwide Entertainment’s intellectual property

throughout the entire term of the Agreement.” Worldwide Entertainment believes that these

_7_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 8 of 31

benefits constitute consideration, such that even if Worldwide Entertainment did not have the
authority to license the rights to Adria Productions for use in Croatia, the Agreement is still
valid. While the Court recognizes that these benefits are relevant, the analysis in fact turns on a
passing reference to Worldwide Entertainment’s rights for “well-known” marks arising under the
Paris Convention for the Protection of Industrial Property (“the Paris Convention”).l

Worldwide Entertainment references the Paris Convention as a means of arguing that the
“territoriality doctrine” does not apply. ln that respect, the Court disagrees and instead finds that
the Paris Convention applies and arises under application of the “territoriality doctrine,” as it is
part of the law of the territory at issue_Croatia. But that fact notwithstanding, the Paris
Convention serves a much more significant purpose in this dispute. Under the “territoriality
doctrine” the Court must look to Croatia to determine the ownership of the Marks Adria
Productions rightfully notes and cites to the law in Croatia, which states that “[o]wners of
trademarks have no rights absent registration and may not file lawsuits to protect their rights
under the Trademark Law.” § 38:30.Status of unregistered trademarks, 1 Trademarks
Throughout the World § 38:30. But Adria Productions conveniently fails to quote the next
sentence of the treatise, which states that “owners of unregistered marks may file a lawsuit in
court to protect their rights under the Unfair Competition Law and Article 6bz`s of the Paris
Convention.” Id. The Paris Convention, to which Croatia is a signatory, affords protection (albeit
more limited in scope than the protection for registered marks) to those marks that are considered
“well-known.” § 38:7.Not registrable; protection for well-known marks, 1 Trademarks

Throughout the World § 38:37. To the extent that a party can avail itself of the protections

 

l The parties subsequently further addressed the issue of whether the marks are “well-known” under the
Paris Convention in Adria Productions’s motion in limine to preclude evidence that Worldwide Entertainment’s
marks are “well-known” and in Worldwide Entertainment’s opposition thereto.

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 9 of 31

provided by the “well-known” marks doctrine, the Eleventh Circuit has labeled this right “use”
protection. See Babbit Electronics, Inc. v. Dynascan Corp., 38 F.3d 1161, 1177 (1 lth Cir. 1994).

In Babbit, an almost identical dispute arose_defendant licensed the rights to use their
trademarks to plaintiff in several South American countries in which it had not formally
registered those marks Id. at 1165-66. Like here, plaintiff argued that because defendant did not
actually own the marks in South America, it could not license them to plaintiff for use there. Id.
But the court disagreed, finding that to the extent defendant had the right to bring a lawsuit under
the Paris Convention for protection of the marks, it had a right to those marks that it could
legally license. Id. ln so finding, the court recognized that there is a legal distinction between
“use” protection and trademark registration_while a party can formally register a trademark, its
abstention from exercising its right to protect an unregistered mark abroad is also a cognizable
legal right. Id.

Here, the Agreement states that Worldwide Entertainment “grants to AMM. . .the non-
exclusive and limited right to use, in the Territory” the Marks, and that “[a]ll marks used,
registered, or to be registered in the Territory. . .shall be the exclusive property of Ultra.” The
Agreement itself does not state that Worldwide Entertainment has “formally registered” the
Marks_nor does Worldwide Entertainment claim to have done so_but instead uses the phrase
“owned or used.” As such, even though Adria Productions hand-waves the argument in its
briefsz, to the extent that Worldwide Entertainment can prove that the Marks qualify as “well-
known” marks under the Paris Convention in Croatia, Worldwide Entertainment’S right to “use”

protection endows it with the right to license the Marks to Adria Productions Put differently,

 

2 In its Reply to Worldwide Entertainment’s Opposition to Adria Productions’s Motion for Partial
Summary Judgment, Adria Productions states that this argument amounts to Worldwide Entertainment stating: “We
don’t currently have rights to the Marks, but we might be able to bring a lawsuit, and we might be able to get those
rights.” While Adria Productions attempts to make light of this argument, it is in fact the case.

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 10 of 31

Worldwide Entertainment’s abstention from filing a lawsuit in Croatia against Adria Productions
for unauthorized use of the Marks would be valid consideration because it is “[a] promise. . .to
do something that. . .[ Worldwide Entertainment] was not already obligated to do.” Britt Green
Trucking, Inc., 511 Fed. Appx. at 851.

When assessing whether a mark is well-known, such that it should receive protection in
Croatia, the trademark office considers the criteria established by the Joint Recommendation of
the World lntellectual Property Organization concerning provisions on the protection of well-
known marks, which include the following: “(l) the degree of knowledge or recognition of the
mark in the relevant sector of the public; (2) the duration, extent and geographical area of any
use of the mark; (3) the duration, extent and geographical area of any promotion of the mark,
including advertising and the presentation, at fairs or exhibitions, of the goods and/or services to
which the mark applies; (4) the record of successful enforcement of rights in the mark; and (5)
the value associated with the mark.” § 38:7.Not registrable; protection for well-known marks, 1
Trademarks Throughout the World § 38:37. Although Adria Productions disputes that
Worldwide Entertainment can avail itself of “use” protection because it has failed to demonstrate
that the Marks are “well-known,” the Court believes that it is likely that Worldwide
Entertainment can do so. That said, the record evidence does not reflect that the criteria has been
adequately analyzed.3 For this reason, there are still significant issues of material fact as to the

validity of the Agreement

3. European Union

Although Worldwide Entertainment’s argument does not speak to the European Union

 

3 The Court recognizes that Worldwide Entertainment acknowledges this issue and cites the requirements
of “well-known” marks in its Opposition to Adria Productions’s Motion in Limine No. 3 to Preclude Evidence of
Worldwide Fame or Notoriety of Worldwide Entertainment’s Trademarks. However, because Worldwide
Entertainment assumes that whether the marks are “well-known” is a secondary issue, Worldwide Entertainment
fails to address the criteria with sufficient detail.

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Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 11 of 31

and its regulatory scheme for the protection of “well-known” trademarks, the Court will
nonetheless address it given that the relevant Territory is not only Croatia, but the European
Union as well. The European Union, to which Croatia has belonged since July 1, 2013, has a
separate, but similar protection for “well-known” marks Any legal person, including authorities
established under public law, can register trademarks with the European Union lntellectual
Property Office. Io’. at § 54:5.Who may apply, § 54:2.Law and trademark office. While the
European Union is not a member of the Paris Convention_although all of its member states
are_there is still protection afforded to unregistered “well-known” marks4 Ia’. at §
54:3.Conventions, § 54:7.Not registrable; protection for well-known marks That protection also
seems to be somewhat liberal given that to overcome an objection to a trademark application, the
onus is on the applicant to “provide evidence in support of acquired distinctiveness through use.”
Id. at § 54:7.

The protection for “well-known” marks in the European Union therefore seems to satisfy
the definition of “use” protection set out in Babbit. As such, to the extent a party can demonstrate
its standing to protect a trademark, it has the legal right to “use” protection of that trademark in
the European Union. Here, like in Croatia, it seems likely that Worldwide Entertainment will be
able to satisfy the requirements for protection of the Marks, but the record evidence is as of yet
inconclusive on this issue.

F or this reason, the Court finds that there are still significant issues of material fact as to
the validity of the Agreement and summary judgment is DENIED as to Adria Productions’s

Count Vlll for declaratory relief and Worldwide Entertainment’s Counts l and ll (breach of

 

4 The Court performs the “well-known” marks analysis under the European Union’s regulatory scheme for
purposes of being thorough. The Court, however, recognizes that given that all member states of the European
Union are signatories to the Paris Convention, to the extent that the Marks were used in any of the member states,
the same analysis used above for Croatia would apply and “use” protection would exist for the Marks

_11_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 12 of 31

contract), and IV (unjust enrichment). Moreover, Adria Productions’s alternative request for a
declaration of facts finding that (1) Worldwide Entertainment had no rights to the purportedly
licensed marks at any relevant time; and (2) nevertheless held itself out to be the owner of the
purportedly licensed marks is likewise DENIED.
IV. WORLDWIDE ENTERTAINMENT’S MOTION FOR SUMMARY JUDGMENT
Given that Worldwide Entertainment seeks summary judgment on all of the counts in
Adria Productions’s Complaint5 and all of the counts in its Counterclaim, each count is
summarized and addressed below.

A. Adria Productions’s Counts I-X

1. Count I - Fraud in the Inducement; Count II ~ Fraudulent
Misrepresentation; Count VI ~Fraud

Adria Productions alleges that Worldwide Entertainment fraudulently induced Adria
Productions into entering the Promotional Agreement by fraudulently misrepresenting that it
held trademark registrations in Croatia and Europe for the Marks Worldwide Entertainment
argues (l) that Adria Productions’s fraud claims are not independent of the Agreement and are
precluded by the Merger Clause, and (2) Adria Productions’s fraud claims fail on the merits

a. Fraud Claims are Independent and Precluded by the Merger
Clause

To Worldwide Entertainment’s first point, Worldwide Entertainment states that “where
alleged misrepresentations relate to matters already covered in a written contract, such
representations are not actionable in fraud.” Peebles v. Puig, 223 So. 3d 1065, 1068 (Fla. 3d

DCA 2017). Worldwide Entertainment contends that the alleged fraudulent statement_that

 

5 With the exception of Adria Productions’s Count VIII for Declaratory Relief, which was discussed above
in Section Ill, and Count IX for Injunctive Relief, which, although not addressed in the parties’ briefs, the Court
surrnises is moot given that Adria Productions was requesting an injunction to prevent Worldwide Entertainment
from interfering with Adria Productions’s production of the Festival in 2017.

_12_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 13 of 31

Worldwide Entertainment owns trademark registrations in Croatia and the European Union_is
directly addressed in the text of the Agreement because the Agreement does not represent that
Worldwide Entertainment had registered the Marks Moreover, the Agreement contains a merger
provision, which states that the contract “sets forth the entire Agreement regarding the Event(s)
and respecting the substance of this agreement and supersedes all prior negotiations,
understanding, and agreements.” (emphasis added). Under Florida law, “if a merger clause_or
by extension, any part of a contract_addresses the nature of the oral misrepresentations it
prevents a plaintiff from bringing a claim grounded in those statements.” Freeman v. Sharpe Res.
Corp., No. 6:12-cv-1548, 2013 WL 2151723, at *9 (M.D. Fla. May 16, 2013).

ln response, Adria Productions argues that the “existence of a merger or integration
clause, which purports to make oral arguments not incorporated into the written contract
unenforceable, does not affect oral representations which are alleged to have fraudulently
induced a person to enter into the agreement.” Mejia v. Jurich, 781 So. 2d 1175, 1178 (Fla. 3d
DCA 2001). And in cases involving fraudulent inducement, the Court applies a case-by-case
analysis to agreements containing merger clauses Here, Adria Productions disputes that the
alleged misrepresentations are subsumed by the Agreement due to the Grant of Rights section6
(and Adria Productions alleges that Worldwide Entertainment had no rights to the Marks) and
because the Agreement showed the rights with a trademark registration symbol. On this point,
the Court agrees with Adria Productions that its claims for fraudulent inducement and
misrepresentation are not adequately addressed by the merger clause in the Agreement and thus
turns to the merits of the claims themselves

b. Merits of the Fraud Claims

 

6 The Grant of Rights section grants Adria Productions the “non-exclusive and limited right” to use the
Proprietary Marks during the term of the Agreement,

_13_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 14 of 31

“Under Florida law, the essential elements of fraud include: (1) a false statement
concerning a specific material fact; (2) a showing that the representor knew or should have
known that the representation was false; (3) an intent that the representation induce another to act
on it; and (4) consequent injury to the party acting in justifiable reliance on the representation.”
Babbit, 28 F.3d at 1176-77. Worldwide Entertainment argues that it did not represent to Adria
Productions that it held registrations in Croatia and Europe for the Marks, but that even if it did,
such a representation would not be “material.” See Obregon v. Windmills Capital, Inc., No. 13-
cv-80699, 2015 WL 11348275 (S.D. Fla. Jan 22, 2015) (holding that a failure to establish that
the defendant’s false statement was material is fatal to a fraud claim). Worldwide Entertainment
contends that (1) it was the owner of the Marks regardless of registration status; (2) there was a
valid registration covering the marks “Ultra Music Festival” and “Ultra” at all times; and (3)
Adria Productions received numerous benefits, not just the use of the Marks, under the
Agreement; and (4) throughout the term of the Agreement, Worldwide Entertainment prevented
any interference with use of the Marks in the territory. As such, any misrepresentation would
have been immaterial to the benefits Adria Productions received under the Agreement. Lastly,
Worldwide Entertainment argues that Adria Productions failed to use reasonable diligence in
accessing public trademark databases or other public records to confirm the status of the Marks
in the Territory. See Jaffe v. Bank ofAin., N.A., 667 F. Supp. 2d 1299, 1320 (S.D. Fla. 2009),
a]j”’d, 395 Fed. App’x 583 (llth Cir. 2010) (“[l]t is well agreed that where the means of
knowledge are at hand and are equally available to both parties, and the subject matter is equally
open to their inspection, if one of them does not avail himself of those means and opportunities,
he will not be heard to say that he was deceived by the other’s misrepresentations.”) (internal

citations and quotations omitted).

_14_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 15 of 31

Adria Productions responds to Worldwide Entertainment’s allegations claiming that the
testimony Worldwide Entertainment relies on to support its contention that it never made
representations as to the registration of the Marks directly contradicts the testimony of Adria
Productions’s principal. Adria Productions’s principal testified that one or more members of
Worldwide Entertainment represented that it owned the rights to certain marks in Croatia and
that Adria Productions relied on those representations when negotiating and ultimately executing
the Agreement. Moreover, Adria Productions argues that with respect to its obligations to
conduct due diligence, Florida law allows a recipient to “rely on the truth of a representation,
even though its falsity could have been ascertained had he made an investigation, unless he
knows the representation to be false or its falsity obvious to him.” Gold v. Perry, 456 So. 2d
1197, 1201 (Fla. 4th DCA 1984).

Because each party testified to the exact opposite of the other, the Court finds there are
genuine issues of material fact with respect to whether Worldwide Entertainment represented
that it owned the trademark registrations whether those representations were material, and
whether Adria Productions relied on them. Moreover, the Court notes that with respect to Adria
Productions’s due diligence, while it is true that the recipient of a fraudulent misrepresentation is
justified in relying upon its truth even though the truth could have been easily ascertained, the
Supreme Court of Florida has explained that “where one has an opportunity to make a cursory
examination or investigation and does not do so, he cannot recover.” M/I Schottenstein Homes,
Inc. v. Azain, 813 So. 2d 91, 93 (Fla. 2002). For example, in Babbit, the court found that the
plaintiff, a sophisticated company, made no “effort to determine whether [defendant] owned the
licensed trademark registrations” 38 F.3d at 1177. Here, Adria Productions, also a sophisticated

party, has not indicated that it attempted to do so.

_15_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 16 of 31

For these reasons genuine issues of material fact remain as to Adria Productions’s fraud
claims and therefore Worldwide Entertainment’s motion for summary judgment as to Adria
Productions’s Counts l (fraud in the inducement), ll (fraudulent misrepresentation), and Vl
(fraud) is DENIED.

2. Count III - Breach of Contract

Adria Productions alleges that Worldwide Entertainment committed “numerous material
breaches” of the Agreement, including “cutting off Adria Productions’s access to social media
channels used to promote the festival in 2017, disabling Adria Productions’s email accounts used
to promote the Festival in 2017, prohibiting Adria Productions from making any statements to
fans or the media, and revoking Adria Productions’s ‘rights’ to promote the Festival in 2017.”
Worldwide Entertainment argues that all of this alleged conduct occurred in direct response to
Adria Productions’s breaches and only after Adria Productions had defaulted on the Agreement,
which permitted Worldwide Entertainment to terminate the contract and revoke Adria
Productions’s rights thereunder. Before the Court can assess the merits of the parties’ arguments
it must determine whether the Agreement is void. For this reason, there remain genuine issues of
material fact and Worldwide Entertainment’s motion for summary judgment as to Adria
Productions’s Count lll (breach of contract) is DENIED.

3. Count IV - Breach of the Implied Covenant of Good Faith and Fair
Dealing

Adria Productions claims that Worldwide Entertainment breached the implied covenant
of good faith and fair dealing by consciously and deliberately frustrating the Agreement’s
purpose and disappointing Adria Productions’s expectations by prohibiting it from promoting the
2017 Festival. Additionally, Adria Productions claims that Worldwide Entertainment forced

Adria Productions to use Worldwide Entertainment’s vendor contacts in an effort to receive

_16_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 17 of 31

unjustified commissions and decrease Adria Productions’s profits Worldwide Entertainment
argues that “the breach of the implied covenant of good faith and fair dealing is not an
independent cause of action, but attaches instead to the performance of a specific contractual
obligation.” Saxon Fin. Group, Inc. v. Rath, No. 11-cv-80646, 2012 WL 3278662, at *7 (S.D.
Fla. Aug. 9, 2012). Furthermore, “[a] breach of the implied duty may be dismissed as redundant
where the conduct allegedly violating the implied covenant is duplicative of the companion
cause of action alleging breach of contract.” Shibata v. Lim, 133 F. Supp. 2d 1311, 1319 (M.D.
Fla. 2000). “[T]his rule comes into play when . . . one party has the power to make a
discretionary decision without defined standards.” Saxon, 2012 WL 3278662, at *7 (intemal
citations and quotations omitted). Here, Worldwide Entertainment alleges that Adria
Productions’s claim for breach of implied covenant fails because it is identical to its claim for
breach of contract Adria Productions argues however, that Worldwide Entertainment abused its
sole discretion under the Agreement to require that Adria Productions use highly priced preferred
vendors with increasing yearly prices that ultimately prevented Adria Productions from
generating a reasonable profit_an allegation different from that alleged in its claim for breach of
contract. As stated above, before the Court can make a decision as to whether Worldwide
Entertainment breached the implied covenant of good faith, it must determine whether the
Agreement itself was valid or void. For this reason, Worldwide Entertainment’s motion for
summary judgment as to Adria Productions’s Count IV (breach of the implied covenant of good
faith and fair dealing) is DENIED.

4. Count V - Promissory7 Estoppel

To establish promissory estoppel liability, a claim must meet the following elements: “(l)

 

7 The Court recognizes that Adria Productions mistakenly labeled this claim equitable estoppel and will
thus refer to it as promissory estoppel.

_17_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 18 of 31

a promise made by the promisor; (2) which the promisor should reasonably expect to induce
action or forcearance on the part of the promise; (3) that in fact induced such action or
forbearance; and that (4) injustice can be avoided only by enforcing the promise. Here, Adria
Productions alleges that Worldwide Entertainment’s representations that it owned trademark
registrations for the Marks in Croatia and Europe induced Adria Productions to enter into the
Agreement and spend millions of dollars in doing so. But Worldwide Entertainment contends
that “[p]romissory estoppel is unavailable in cases where a written contract covers the subject
matter in dispute between the parties.” Inspired Dev. Grp., LLC v. Inspired Prod. Grp., LLC,
9:16-cv-80076, 2017 WL 41197, at *9 (S.D. Fla. Jan. 31, 2017).

First, as with the other claims the Court must determine whether the Agreement is valid
or void in order to make a judgment as to Adria Productions’s claim for promissory estoppel.
Moreover, as with Adria Productions’s claims for fraud, there remain genuine issues of material
fact as to whether Worldwide Entertainment induced Adria Productions into entering the
Agreement by making false representations about the Marks For these reasons Worldwide
Entertainment’s motion for summary judgment as to Adria Productions’s Count V (promissory
estoppel) is DENIED.

5. Count VII - Unjust Enrichment

Adria Productions alleges that it is entitled to unjust enrichment because it paid
substantial fees commissions expenses and other amounts to promote the “Ultra” brand in
Europe, but received no corresponding benefit because Worldwide Entertainment could not
legally license the rights to the Marks in Croatia and Europe. Under Florida law, “upon a
showing that an express contract exists between the parties . . . [an] unjust enrichment . . . count

fails.” Leader Glol)al Solutions, LLC v. Tradeco Infraestructura, S.A. DE C. V., 155 F. Supp. 3d

-13_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 19 of 31

1310, 1319 (S.D. Fla. 2016). As Adria Productions states in its opposition to Worldwide
Entertainment’s motion for summary judgment, questions of material fact remain as to whether
or not the agreement is valid and enforceable and, if not, whether any benefits received by
Worldwide Entertainment were unjustly retained. For this reason, Worldwide Entertainment’s
motion for summary judgment as to Adria Productions’s Count Vll (unjust enrichment) is
DENIED.
6. Count X - Tortious Interference with Business Relationships

To state a claim for tortious interference, “a plaintiff must show: (1) the existence of a
business relationship; (2) that defendant had knowledge of the relationship; (3) the defendant
intentionally and unjustifiably interfered with the relationship; and (4) the plaintiff suffered
damage as a result.” Wilson v. EverBank, N.A., 77 F. Supp. 3d 1202, 1238 (S.D. Fla. 2015)
(internal citations omitted). Adria Productions alleges that it has numerous business relationships
relating to the Festival with vendors transportation companies hotels restaurants ticketing
companies ticket holders and industry people, which Worldwide Entertainment has knowledge
of due to its involvement in the Festival since 2013. Adria Productions accuses Worldwide
Entertainment of “intentionally and unjustifiably” interfering with these relationships by
preventing Adria Productions from promoting and producing (e.g., cutting off Adria
Productions’s access to social media channels disabling Adria Productions’s email accounts and
prohibiting Adria Productions from making any statements to fans/media) the Festival in 2017
such that its business relationships have been irreparably damaged ln response, Worldwide
Entertainment maintains that it was within its rights to revoke Adria Productions’s rights under
the Promotional Agreement due to Adria Productions’s breaches and that such conduct cannot
give rise to a tortious interference claim.

“To be liable for tortious interference a defendant must have both the intent to damage

_19_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 20 of 31

the business relationship and a lack of justification for doing so.” See Rornika-USA, Inc. v. HSBC
Bank USA, N.A., 514 F. Supp. 2d 1334, 1339 (S.D. Fla. 2007) (intemal citations and quotations
omitted). Under the Promotional Agreement, Adria Productions automatically assigns all of its
rights title and interest thereunder and under any other agreements contracts or arrangements
respecting the events to Worldwide Entertainment Therefore, Worldwide Entertainment argues
the plain terms of the Agreement allow Worldwide Entertainment to assume Adria Productions’s
business relationships with its vendors Moreover, to the extent that Adria Productions is
claiming interference with any contractual relationship it had with any third party relating to any
event produced under the Agreement, Worldwide Entertainment states that this claim fails
because Worldwide Entertainment is not a “stranger” to Adria Productions’s business
relationships “[A] claim for tortious interference cannot lie where the alleged interference is
directed at a business relationship to which the defendant is a party, ln other words the
interfering defendant must be a third party, a stranger to the business relationship.” Romika- USA,
514 F. Supp. 2d at 1338 (internal quotations omitted). Because the Agreement provides that
Worldwide Entertainment is a third party beneficiary of all agreements entered into by Adria
Productions related to the events produced by Adria Productions, Worldwide Entertainment
contends that it was not a stranger and thus Adria Productions’s claim fails Adria Productions
refutes the claim that Worldwide Entertainment was a party to any of its business relationships
prior to its revocation of the Agreement.

The Court agrees with Adria Productions that genuine issues of material fact remain as to
whether Worldwide Entertainment was justified in interfering with Adria Productions’s business
relationships For this reason, Worldwide Entertainment’s motion for summary judgment as to

Adria Productions’s claim for tortious interference (Count X) is DENIED.

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Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 21 of 31

B. Worldwide Entertainment’s Counterclaim Counts I-IX
1. Counts I & II - Breach of Contract

Worldwide Entertainment alleges that Adria Productions breached the promotional
agreement by (1) failing to pay $366,211 in fees due in connection with the 2017 Festival, and
(2) failing to remit to Worldwide Entertainment approximately € 1.4 million in pre-sold ticket
monies advanced to Adria Productions for the 2017 Festival, and seeks damages in those sums
ln addition, Worldwide Entertainment alleges that Adria Productions breached by (1) failing to
assign or relinquish all “Ultra” related intellectual property rights and (2) hosting an
unauthorized press conference during which Adria Productions used Worldwide Entertainment’s
proprietary marks without Worldwide Entertainment’s authorization to promote a different music
event that Adria Productions attempted to produce. Worldwide Entertainment also claims that
Adria Productions breached and/or is intending to breach the non-competition provision of the
Promotional Agreement by either producing and/or planning a festival or event that will compete
with Worldwide Entertainment’s festivals. Adria Productions disputes the validity of the
Promotional Agreement, such that a determination of whether Adria Productions breached is not
ripe for decision at this time. For this reason, Worldwide Entertainment’s motion for summary
judgment as to its breach of contract claims (Counts I & II) is DENIED.

2. Count III - Misappropriation of Trade Secrets

Worldwide Entertainment claims that Adria Productions misappropriated trade secrets in
violation of Florida’s Uniform Trade Secret Act, Fla. Stat. § 688.001 et seq., by knowingly and
purposefully disclosing Worldwide Entertainment’s valuable trade secrets in discussions
negotiations and/or business relationships with a known competition of Worldwide
Entertainment Worldwide Entertainment seeks summary judgment on its claim, requesting that

the Court enjoin during the pendency of this action, and permanently thereafter, Adria

_21_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 22 of 31

Productions, its principals officers agents employees shareholders and directors from
disclosing any of Worldwide Entertainment’s confidential and proprietary business information
to any third parties and continuing to use any of Worldwide Entertainment’s confidential and
proprietary business information, and awarding Worldwide Entertainment damages exemplary
damages punitive damages and attorneys’ fees and costs

To prevail on a claim for misappropriation under Florida’s Uniform Trade Secrets Act, a
plaintiff must prove that (1) it possessed secret information and took reasonable steps to protect
its secrecy; and (2) the secret it possessed was misappropriated, either by one who knew or had
reason to know that the secret was improperly obtained by one who used improper means to
obtain it. Del Monte Fresh Produce Co. v. Dole Food Co., 136 F. Supp. 2d 1271, 1291 (S.D. Fla.
2001). A trade secret is information that (1) derives actual or potential independent economic
value from not being generally known to, and not being readily ascertainably by proper means
by, other persons who can obtain economic value from its disclosure or use; and (2) is the subject
of efforts that are reasonable under the circumstances to maintain its secrecy. Id. lf`, however,
“the information in question is generally known or readily accessible to third parties it cannot
qualify for trade secret protection.” Id. (citing American Red Cross v. Palm Beach Blood Bank,
Inc., 143 F.3d 1407, 1410 (11th Cir. 1998)).

a. (1) Possession of Trade Secrets

Worldwide Entertainment proffers that Adria Productions was privy to non-public
confidential business information belonging to Worldwide Entertainment that Worldwide
Entertainment used to plan, promote and orchestrate successful electronic music festivals. More
specifically, that Adria Productions had knowledge of Worldwide Entertainment’s business
methodology for designing and constructing stage and site layouts, which Worldwide

Entertainment argues are critical to the success of its electronic music festivals and differentiate

_22_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 23 of 31

Worldwide Entertainment from its competitors Worldwide Entertainment also states that Adria
Productions was privy to plans for future expansion, as well as various equipment lists and
contact lists with artists vendors sponsors and other industry insiders which Worldwide
Entertainment claims has taken over twenty (20) years to cultivate.

Adria Productions contends that this information does not qualify as trade secrets As to
stage layout and design, Adria Productions argues that once the stage is unveiled at a festival in
front of over one hundred thousand people, it is no longer a secret such that Worldwide
Entertainment could claim protection under Florida’s Uniform Trade Secret Act, Moreover,
Adria Productions argues that Worldwide Entertainment employs the same production crew as
its competitor and that the crew is already privy to these secrets8

b. (2) Protection of Trade Secrets

Worldwide Entertainment contends that it protects its purported trade secrets from
disclosure by requiring its licensees and parties with whom it does business to sign
confidentiality and non-disclosure agreements See generally Medi- Weightloss Franchising USA,
LLC v. Sadek, No. 09-cv-2421, 2010 WL 1837767 (M.D. Fla. Mar. ll, 2010) (execution ofa
non-disclosure agreement constitutes a reasonable step to protect trade secrets and business
information from improper use/disclosure). In fact, the Promotional Agreement included a
confidentiality/non-disclosure provision, which bound Adria Productions to maintain the secrecy
of Worldwide Entertainment’s “strategies, promotional techniques Artist, vendor or sponsor
contact information, terms of agreements with Artists, vendors or sponsors passwords and future

plans”

 

8 It is unclear whether Adria Productions is suggesting that the production crew informed/could inform
Worldwide Entertainment’s competitor about the information Adria Productions is denying they disclosed or if
Adria Productions is suggesting that because the production crew is made aware of the stage and site layouts that
they are not “trade secrets.”

_23_

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 24 of 31

Adria Productions argues that Worldwide Entertainment’s reliance on the
confidentiality/non-disclosure provision in the Agreement is not enough to satisfy this prong.
Adria Productions criticizes Worldwide Entertainment’s failure to mention other parties with
whom it entered into non-disclosure agreements and/or other steps that it took to protect the
secrecy of its alleged trade secrets besides this provision in the Agreement.

c. (3) Misappropriation of Trade Secrets

According to a sworn declaration submitted by Worldwide Entertainment, there is a
purported email exchange between Adria Productions and a known Worldwide Entertainment
competitor, wherein Adria Productions provided the competitor with stage schematics, technical
information about the production elements of an “Ultra” branded festival, and other non-public
information9 Adria Productions does not deny the existence of the emails, but explains that the
alleged competitor is asking for “past” Ultra Europe designs and a gear list related to production
that Adria Productions alleges is known by the competitor’s own agents/contractors
Furthermore, Adria Productions goes on to say that Worldwide Entertainment fails to present
evidence that any of this information was actually disclosed. Relying on Worldwide
Entertainment’s sworn statement_because Worldwide Entertainment has not submitted the
actual emails for the Court’s review_it would appear that because the competitor’s email thanks
Adria Productions for “sending all of the information” that Adria Productions in fact did disclose
information

The Court agrees with Adria Productions that there is a genuine issue of material fact as

to whether Worldwide Entertainment’s alleged trade secrets were, in fact, secrets and whether

 

9 Worldwide Entertainment alleges that on February 26, 2017, a Worldwide Entertainment competitor sent
an email to Adria Productions stating: “Could you please send us past Ultra Europe stage designs layouts and any
other information that might be useful to us . .” And that on March 4, 2017, Worldwide Entertainment’s competitor
confirmed receipt of the information, responding: “Thank you for sending all of the information to us Would you
happen to have a gear list for lighting, video, audio, and sfx that are available.”

_24_

 

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 25 of 31

Worldwide Entertainment’s competitor knew or had access to the allegedly secret information.
For this reason, Worldwide Entertainment’s motion for summary judgment as to its Count 111
(misappropriate of trade secrets) is DENIED.

3. Count IV - Unjust Enrichment

Worldwide Entertainment alleges that Adria Productions was unjustly enriched because
Worldwide Entertainment conferred benefits including the support and know-how in the
planning and execution of numerous events use of the “Ultra” domain names Twitter handles
Instagram pages Facebook pages international marketing of the events as well as access to
talent and talent booking, which Adria Productions accepted and retained (which Worldwide
Entertainment values at $366,211). Worldwide Entertainment fiirther alleges that Adria
Productions wrongfully retained € 1.4 million in ticket sales for the 2017 event. Worldwide
Entertainment argues that it would be inequitable for Adria Productions to retain these benefits
without paying the value thereof of to Worldwide Entertaimnent.

Worldwide Entertainment argues unjust enrichment as an alternative to its breach of
contract claim. Because the Court must first determine the validity of the Promotional

Agreement, Worldwide Entertainment’s motion for summary judgment as to its Count IV (unjust

enrichment) is DENIED.
4. Count V - Violation of Florida’s Computer Abuse and Data Recovery
Act

Worldwide Entertainment accuses Adria Productions of accessing Worldwide
Entertainment’s computer system without authorization and in violation of Florida’s Computer
Abuse and Data Recovery Act, Fla. Stat. § 668.801, et seq. Under the Act, it is a violation for a
person, who knowingly and with intent to cause harm or loss to obtain information from a

protected computer without authorization and, as a result, causes harm or loss Fla. Stat. §

_25_

 

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 26 of 31

668.803(1). Here, Worldwide Entertainment alleges that during the term of the Agreement, Adria
Productions was provided access to Worldwide Entertainment’s email servers, which were
specifically designed to host all of Adria Productions’s email traffic regarding the Ultra Europe
festival and related events Further, the Agreement granted Worldwide Entertainment the right to
restrict, suspend, or discontinue Adria Productions’s access to the servers upon a breach of the
contract.10

Following Adria Productions’s failure to cure, Worldwide Entertainment rescinded the
Promotional Agreement, as well as Adria Productions’s access to the email accounts Despite
Worldwide Entertainment’s suspension of Adria Productions’s access Worldwide Entertainment
alleges that Adria Productions continued to access the accounts by circumventing password
protections allowing Adria Productions to misappropriate emails and costing Worldwide
Entertainment money in investigation, assessment and restoration of the domain. Adria
Productions disputes the allegations claiming that there is no evidence to support Worldwide
Entertainment’s claim that Adria Productions knowingly accessed the suspended email accounts
and that, even if they did, there is no evidence that there was an intention to cause harm or that
Worldwide Entertainment suffered any loss With respect to the first prong, Adria Productions’s
circumvention of Worldwide Entertainment’s password protections suggests that Adria
Productions knowingly accessed the suspended email accounts but there remains a genuine issue

of material fact as to whether Adria Productions actually knew. With respect to the second

 

m Upon review of the Agreement, there does not seem to be a provision that speaks to email access or use
of servers. Unless, however, the section to which Worldwide Entertainment refers is Section 15. Web Properties;
Domain Names, which tasks Adria Productions with maintaining the event website, and gives Worldwide
Entertainment the right to “restrict, suspend or discontinue” Adria Productions’s access to the website(s). Under that
section, the Agreement states that Worldwide Entertainment shall provide Adria Productions with “the information
reasonably necessary for Adria Productions to perform its website maintenance duties.” Id. The Court will assume,
for purposes of this analysis that granting Adria Productions a right to use Worldwide Entertainment’s email servers
was necessary for Adria Productions to perform its website maintenance duties

_26_

 

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 27 of 31

prong, however, Worldwide Entertainment fails to present sufficient evidence to support that it
suffered any harm or loss apart from stating that it “incurred costs and damages including the
costs of investigating Adria Productions’s actions assessing the damage to Worldwide
Entertainment’s systems and restoring the domain.” Worldwide Entertainment alleges that it
“lost data” and that Adria Productions “misappropriated emails,” but Worldwide Entertainment
does not provide any further evidence thereof.

For these reasons Worldwide Entertainment’s motion for summary judgment as to Count
V (violation of Florida’s Computer Abuse and Data Recovery Act) is DENIED. Although Adria
Productions did not move for summary judgment on this claim and it will accordingly proceed to
trial, the Court finds it unlikely that it will survive and will revisit it on motion for judgment as a
matter of law pursuant to Federal Rule of Civil Procedure 50 after all evidence has been
presented

5. Count VI - Violation of Stored Wire and Electronic Communications
and Transactional Records Access

Worldwide Entertainment alleges that Adria Productions’s alleged unauthorized access of
its suspended email accounts also violated 18 U.S.C. § 2701 of the Stored Communications Act,
To state a claim under the Stored Communications Act, a plaintiff must establish two elements:
“(1) the defendant intentionally accessed without authorization a facility through which an
electronic communication service is provided or intentionally exceeded an authorization to
access that facility and (2) the defendant obtained, altered, or prevented authorized access to a
wire or electronic communication while it is in electronic storage in such system.” Stz`rling Int’l
Realty, Inc. v. Soderstrom, 6:14-cv-1109-Orl-40TBS, 2015 WL 2354803, at *4 (M.D. Fla. May
15, 2015) (citing Snow v. DirecTV, Inc., 450 F.3d 1314, 1321 (1 lth Cir. 2006) (internal

quotations omitted). For the same reasons Worldwide Entertainment alleged Adria Productions

_27_

 

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 28 of 31

violated the Florida Computer Abuse and Data Recovery Act, Worldwide Entertainment alleges
that Adria Productions violated Stored Communications Act. In summary, Worldwide
Entertainment claims that Adria Productions gained access to the suspended email accounts by
resetting the passwords thereby making the accounts unavailable to Worldwide Entertainment
and violating the Stored Communications Act. Adria Productions maintains that it was unaware
that its access to the accounts had been rescinded

The Court finds that there is a genuine issue of material fact as to whether Adria
Productions knowingly accessed the email accounts in violation of the Stored Communications
Act. F or this reason, Worldwide Entertainment’s motion for summary judgment as to Count V1
(violation of Stored Communications Act) is DENIED.

6. Counts VII, VIII & IX -Trademark Infringement & Unfair
Competition

To establish trademark infringement and unfair competition under both the Lanham Act
and Florida common law, Worldwide Entertainment must demonstrate that (1) Worldwide
Entertainment’s marks have priority; (2) Adria Productions used Worldwide Entertainment’s
marks in commerce; and (3) Adria Productions’s use of Worldwide Entertainment’s marks is
likely to cause consumer confusion. Pepsico, Inc. v. Distribuidora La Matalgapa, Inc., 510 F.
Supp. 2d 1110, 1114 (S.D. Fla. 2007); 15 U.S.C. § § 1114, 1125(a).

a. Ownership of the marks

An incontestable United States trademark registration conclusively establishes ownership
of exclusive rights in that trademark. Pepsico, 510 F. Supp. 2d at 1115. A trademark is
incontestable if it has been registered with the United States Patent & Trademark Office
(“USPTO”) for five years and the USPTO has declared it incontestable. See Frehling

Enterprises, Inc. v. Int’l Select Group, Inc,, 192 F.3d 1330, 1336 (llth Cir. 1999). Worldwide

_28_

 

Case 1:17-cV-216O3-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 29 of 31

Entertainment holds rights to various trademarks in the United States including “Ultra Music
Festival” and the stylized “U”_both of which were registered in 2004. 1n the European Union,
Worldwide Entertainment has rights to “UMF”, “UMF Poland”, the stylized “U”-all of which
were registered in 2012_and “Ultra Music Festival”_registered in 2015 . According to
Worldwide Entertainment, at issue here are the marks “Ultra Europe” and the stylized “U”.

b. Use in commerce

Under the Lanham Act, “use in commerce” “denotes Congress’s authority under the
Commerce Clause rather than an intent to limit the Lanham Act’s application to profit making
activity.” Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1194 (11th Cir. 2001).
“Because Congress’s authority under the Commerce Clause extends to activity that ‘substantially
affects’ interstate commerce, United States v. Lopez, 514 U.S. 549, 559 (1995), the Lanham
Act’s definition of ‘commerce’ is concomitantly broad in scope: ‘all commerce which may
lawfully be regulated by Congress’” Id (citing 15 U.S.C. § 1127). Here, Worldwide
Entertainment alleges that Adria Productions used the Marks (although Worldwide
Entertainment does not specify which mark(s)) in commerce on September 7, 2016, by hosting a
press conference in Croatia during which Adria Productions displayed the Marks without
Worldwide Entertainment’s authorization and in violation of the Promotional Agreement. Adria
Productions admits using a proprietary mark (again, Adria Productions does not clarify which
mark) during a press conference, but denies that it did so without authorization The issue of
authorization seems to create a genuine issue of material fact. But that issue of fact
notwithstanding, Worldwide Entertainment seems to have failed to meet its burden in proving
that the mark was used “in commerce” at the press conference. While the “use in commerce”
provision is broad, courts will not extend the Act extraterritorially where there is no evidence to

support that use of marks abroad affected United States’ commerce. Worldwide Entertainment

_29_

 

Case 1:17-cV-21603-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 30 of 31

has failed to demonstrate how Adria Productions’s press conference affected and/or had the
potential to affect commerce in the United States Worldwide Entertainment has not alleged
whether the press conference was broadcast to American audiences or whether it targeted
American consumers The Court cannot assume what it does not know. Instead, Worldwide
Entertainment suggests that “use at a press conference is obviously a use in commerce.” The
Court disagrees that this so obvious Accordingly, Worldwide Entertainment has failed to meet
its burden of demonstrating that the mark(s) was used “in commerce” during the press
conference

Moreover, Worldwide Entertainment also alleges that Adria Productions intends to use
the Marks to produce a competing festival in violation of the Promotional Agreement and of
Worldwide Entertainment’s trademark rights But as mentioned above, Worldwide
Entertainment has failed to demonstrate how Adria Productions’s use of the Marks affect/will
affect commerce in the United States such that a claim under the Lanham Act is appropriate.

c. Likelihood of confusion

There are seven factors considered “in assessing whether a likelihood of consumer
confusion exists: (1) type of mark; (2) similarity of mark; (3) similarity of the goods the marks
represent; (4) similarity of the parties’ retail outlets (trade channels) and customers (5) similarity
of advertising media; (6) defendant’s intent; and (7) actual confusion.” Frehling, 192 F.3d at
1335. The type of mark and evidence of actual confusion are the most important Id. At this time,
however, the Court does not find it necessary to analyze this prong of the test given that
Worldwide Entertainment has failed to meet its burden regarding “use in commerce.”

F or the foregoing reasons Worldwide Entertainment’s motion for summary judgment as
to Counts V11 (common law trademark infringement), V111 (unfair competition), & 1X (federal

trademark infringement) is DENIED.

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Case 1:17-cV-21603-FA|\/| Document 156 Entered on FLSD Docket 09/06/2018 Page 31 of 31

III. CONCLUSION

For the foregoing reasons Adria Productions’s Motion for Partial Summary Judgment
and Worldwide Entertainment’s Motion for Summary Judgment are DENIED.

DONE AND ORDERED in Chambers at Miami, Florida, this 6 of September
2018.

       

FEDERIC ,,A._MoR"ENo
UNITED STATES DISTRICT JUDGE
Copies furnished to: l `

Counsel of Record

_31_

